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                                   8                                 UNITED STATES DISTRICT COURT
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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
                                  11

                                  12    UNITED STATES OF AMERICA, et al.,                  Case No. 15-CV-00746-LHK
Northern District of California
 United States District Court




                                  13                  Plaintiffs,                          JUDGMENT
                                  14            v.

                                  15    SAFRAN GROUP, S.A., et al.,
                                  16                  Defendants.

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                                  18          On August 25, 2017, the Court granted Defendants’ motion to dismiss and dismissed the

                                  19   Third Amended Complaint with prejudice. ECF No. 97. Accordingly, the Clerk shall enter

                                  20   judgment in favor of Defendants. The Clerk shall close the file.

                                  21   IT IS SO ORDERED.

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                                  23   Dated: August 25, 2017

                                  24                                                  ______________________________________
                                                                                      LUCY H. KOH
                                  25                                                  United States District Judge
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                                       Case No. 15-CV-00746-LHK
                                       JUDGMENT
